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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

IN RE ROUNDUP PRODUCTS _) CASE NO. 3:16-md-02741-VC
LIABILITY LITIGATION, )

)
MOTION TO WITHDRAW

COMES NOW Attorney Vincent Powers, 411 South 13th Street,
Lincoln, Nebraska, 68508, and requests permission of this Court to
withdraw from this litigation.

In support of said motion, counsel states that he was one of the
attorneys for Plaintiff Rodney Gobber. That case has been resolved.

WHEREFORE Vincent. M. Powers requests his Motion to
Withdraw be sustained and that he no longer receive any notices from this
Court.

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